Case 6:24-bk-02727-LVV   Doc 50   Filed 06/20/24   Page 1 of 36
                                   Case 6:24-bk-02727-LVV                                          Doc 50                 Filed 06/20/24                        Page 2 of 36

Fill in this information to identify the case:

Debtor name           Control Micro Systems, Inc.

United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF FLORIDA

Case number (if known)              6:24-bk-02727-LVV
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $       4,939,388.82

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $       4,939,388.82


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       5,566,485.29


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          16,923.21

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$         782,037.83


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $          6,365,446.33




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
                              Case 6:24-bk-02727-LVV                  Doc 50        Filed 06/20/24               Page 3 of 36

Fill in this information to identify the case:

Debtor name          Control Micro Systems, Inc.

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)        6:24-bk-02727-LVV
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     TD Bank - Operating Account                       Checking Account                      0000                                 $180,377.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $180,377.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposit for commercial real property.                                                                                 $9,400.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                                     $9,400.00
           Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                      page 1
                             Case 6:24-bk-02727-LVV                  Doc 50          Filed 06/20/24            Page 4 of 36

Debtor       Control Micro Systems, Inc.                                                    Case number (If known) 6:24-bk-02727-LVV
             Name



Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

    No. Go to Part 4.
    Yes Fill in the information below.
11.       Accounts receivable
          11a. 90 days old or less:                  382,586.00        -                                   0.00 = ....                 $382,586.00
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $382,586.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials
          Raw materials                      3/31/2023                          $1,013,003.68        Recent cost                     $1,013,003.68



20.       Work in progress
          Work in progress                   03/31/2023                         $2,962,981.60        Recent cost                     $2,962,981.60



21.       Finished goods, including goods held for resale

22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                       $3,975,985.28
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                 18,615.10 Valuation method              Recent Cost           Current Value          18,615.10

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 2
                            Case 6:24-bk-02727-LVV                    Doc 50         Filed 06/20/24         Page 5 of 36

Debtor       Control Micro Systems, Inc.                                                    Case number (If known) 6:24-bk-02727-LVV
             Name

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          Various including but not limited to: desks,
          chairs, tables, lamps, etc.                                               Unknown         Liquidation                        $2,500.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Various including but not limited to: Machinery
          & Equipment; Computer Equipment;
          Leasehold Improvements; and Software.                                     Unknown         Liquidation                      $378,173.54



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                          $380,673.54
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.   2006 Toyota Tundra VIN#
                  5TBJU32196S473300                                                       $0.00     Liquidation                        $6,437.00


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 3
                              Case 6:24-bk-02727-LVV                 Doc 50        Filed 06/20/24             Page 6 of 36

Debtor        Control Micro Systems, Inc.                                                 Case number (If known) 6:24-bk-02727-LVV
              Name

           47.2.   2010 Kia Soul VIN#
                   KNDJT2A23A7148434                                                    $0.00         Liquidation                          $3,930.00



48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

51.        Total of Part 8.                                                                                                           $10,367.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Lease of commercial
                   real property located
                   at: 4420 Metric Drive,
                   Suite A, Winter Park,
                   FL 32792.                     Leasehold                         Unknown            N/A                                 Unknown




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 4
                          Case 6:24-bk-02727-LVV                     Doc 50         Filed 06/20/24            Page 7 of 36

Debtor       Control Micro Systems, Inc.                                                   Case number (If known) 6:24-bk-02727-LVV
             Name

59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.

Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                  page 5
                                 Case 6:24-bk-02727-LVV                                 Doc 50             Filed 06/20/24               Page 8 of 36

Debtor          Control Micro Systems, Inc.                                                                         Case number (If known) 6:24-bk-02727-LVV
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $180,377.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $9,400.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $382,586.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $3,975,985.28

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $380,673.54

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $10,367.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $4,939,388.82            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $4,939,388.82




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 6
                                 Case 6:24-bk-02727-LVV                        Doc 50           Filed 06/20/24            Page 9 of 36

Fill in this information to identify the case:

Debtor name          Control Micro Systems, Inc.

United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

Case number (if known)              6:24-bk-02727-LVV
                                                                                                                                          Check if this is an
                                                                                                                                               amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                     Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                 that supports this
                                                                                                                     Do not deduct the value     claim
                                                                                                                     of collateral.
2.1    Bank of America, N.A.                        Describe debtor's property that is subject to a lien                  $5,566,485.29                 Unknown
       Creditor's Name
       Attn: Elizabeth M. Peck
       110 N. Wacker Drive
       Mail Code: IL 4-110-10-04
       Chicago, IL 60606
       Creditor's mailing address                   Describe the lien
                                                    Secured Loan
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       5/31/2023                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.




                                                                                                                           $5,566,485.2
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                      9

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity
        Bank of America
        P.O. Box 17237                                                                                       Line   2.1
        Wilmington, DE 19886-7237




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 2
                     Case 6:24-bk-02727-LVV              Doc 50       Filed 06/20/24             Page 10 of 36

Debtor    Control Micro Systems, Inc.                                       Case number (if known)    6:24-bk-02727-LVV
          Name

      Plunkett Cooney
      101 N. Washington Square                                                      Line   2.1
      Suite 1200
      Lansing, MI 48933




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                     page 2 of 2
                            Case 6:24-bk-02727-LVV                           Doc 50              Filed 06/20/24              Page 11 of 36

Fill in this information to identify the case:

Debtor name        Control Micro Systems, Inc.

United States Bankruptcy Court for the:         MIDDLE DISTRICT OF FLORIDA

Case number (if known)          6:24-bk-02727-LVV
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $16,923.21         $16,923.21
          Orange County Tax Collector                          Check all that apply.
          301 S Robinson Avenue                                 Contingent
          Orlando, FL 32801                                     Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
          12/2023                                              Tangible Property Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $9,457.00
          ACCESS I/O PRODUCTS, INC.                                           Contingent
          10623 Roselle Street                                                Unliquidated
          San Diego, CA 92121                                                 Disputed
          Date(s) debt was incurred Various
                                                                             Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes
3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                        $127.80
          Adams Air & Hydraulics                                              Contingent
          904 South 20th St.                                                  Unliquidated
          Tampa, FL 33605                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No  Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                         page 1 of 15
                                                                                                               55481
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 12 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $196.24
         ADT Security Systems, Inc.                                 Contingent
         P.O. Box 371878                                            Unliquidated
         Pittsburgh, PA 15250                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Security services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $426.64
         AIRGAS USA, LLC                                            Contingent
         P.O. Box 532609                                            Unliquidated
         Atlanta, GA 30353-2609                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $101.80
         Aisler Americas, Inc.                                      Contingent
         2093 Philadephia Pike #2610                                Unliquidated
         Claymont, PA 19703                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $272.62
         Allmotion                                                  Contingent
         5673 W. Las Posita Blvd.                                   Unliquidated
         Pleasanton, CA 94588                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $577.00
         AMAZON.COM                                                 Contingent
         P.O. Box 81226                                             Unliquidated
         Seattle, WA 98108                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,423.40
         AMERICA'S OFFICE SOURCE                                    Contingent
         706 TURNBULL AVENUE,STE 305                                Unliquidated
         ALTAMONTE SPRINGS, FL 32701                                Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $192.20
         Assembly Fasteners, Inc.                                   Contingent
         255 Semoran Commerce Place                                 Unliquidated
         Apopka, FL 32703                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 13 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $49,508.00
         Bank of America                                            Contingent
         P.O. Box 15731                                             Unliquidated
         Wilmington, DE 19886-5731                                  Disputed
         Date(s) debt was incurred 1/26/2024
                                                                   Basis for the claim: Credit card account
         Last 4 digits of account number 0581
                                                                   Is the claim subject to offset?    No  Yes
3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $819.65
         BARCODES INC                                               Contingent
         200 W. Monroe St 10th Floor                                Unliquidated
         Chicago, IL 60606                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $129.03
         Blossman Gas of Louisiana                                  Contingent
         P.O. Box 1110                                              Unliquidated
         Ocean Springs, MS 39566                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $975.49
         BTX Global Logistics                                       Contingent
         12 Commerce Drive                                          Unliquidated
         Shelton, CT 06484                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,608.10
         CDW                                                        Contingent
         P. O. Box 75723                                            Unliquidated
         Chicago, IL 60675-5723                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $91.94
         CentryLink                                                 Contingent
         PO Box 1319                                                Unliquidated
         Charlotte, NC 28201                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Vendor
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,400.00
         CH Robinson Worldwide Inc                                  Contingent
         Freightquote                                               Unliquidated
         P.O. Box 9121                                              Disputed
         Minneapolis, MN 55480-9121
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 14 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $134.67
         Clarion Safety Systems                                     Contingent
         190 Old Milford Road                                       Unliquidated
         Milford, PA 18337                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,780.00
         Clean Management                                           Contingent
         Environmental Group, Inc.                                  Unliquidated
         915 Industriall Road                                       Disputed
         Walterboro, SC 29488
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,514.00
         COGNEX                                                     Contingent
         One Vision Drive                                           Unliquidated
         Natick, MA 01760                                           Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,600.00
         Coherent NA, Inc.                                          Contingent
         P.O. Box 74008357                                          Unliquidated
         Chicago, IL 60674                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,555.80
         Collins Manufacturing                                      Contingent
         672 Johns Road                                             Unliquidated
         Apopka, FL 32703                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $229.83
         Cross Technologies, Inc                                    Contingent
         4400 Piedmont Parkway                                      Unliquidated
         Greensboro, NC 27410                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $365.08
         Crown Lift Trucks                                          Contingent
         404 Sunport Ln #150                                        Unliquidated
         Orlando, FL 32809                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 15 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $181.95
         CRYSTAL IMAGE TECHNOLOGIES                                 Contingent
         12650 W. 64th Ave.                                         Unliquidated
         Suite E-279                                                Disputed
         ARVADA, CO 80004
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $890.82
         Crystal Springs                                            Contingent
         P.O. Box 660579                                            Unliquidated
         Dallas, TX 75266-0579                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $257.00
         CVI Laser LLC                                              Contingent
         P.O. Box 742118                                            Unliquidated
         Atlanta, GA 30374-2118                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $431.42
         Damonco                                                    Contingent
         P.O. Box 995                                               Unliquidated
         Salem, VA 24153                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $58.90
         DATAPRO                                                    Contingent
         933 NW 49TH ST                                             Unliquidated
         Seattle, WA 98107                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $175.00
         DAVID RUSSEL ANODIZING                                     Contingent
         2501 McCracken Rd                                          Unliquidated
         Sanford, FL 32771                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $730.00
         Design Research Optics                                     Contingent
         3 Cedar Rock Meadows                                       Unliquidated
         East Greenwich, RI 02818                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 16 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,083.19
         DEX IMAGING                                                Contingent
         5109 W. Lemon Street                                       Unliquidated
         Tampa, FL 33609                                            Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,476.15
         Donaldson Company, Inc.                                    Contingent
         P.O. Box 1299                                              Unliquidated
         Minneapolis, MN 55440                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,364.04
         Duke Energy                                                Contingent
         P.O. Box 1004                                              Unliquidated
         Charlotte, NC 28201-1004                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Utilities
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $85.00
         Durabelt                                                   Contingent
         3119 Scioto Darby Exec. Court                              Unliquidated
         Hilliard, OH 43026                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $15,419.60
         EAO                                                        Contingent
         One Parrott Dr                                             Unliquidated
         Shelton, CT 06484                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,624.04
         Edmund Optics, Inc.                                        Contingent
         101 E. Gloucester Pike                                     Unliquidated
         Barrington, NJ 08007-1380                                  Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $111.00
         EMKA, INC                                                  Contingent
         1961 Fulling Mill Road                                     Unliquidated
         Middletown, PA 17057                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 17 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $52.00
         Exostar LLC                                                Contingent
         P.O. Box 301003                                            Unliquidated
         Los Angeles, CA 90030                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $143.06
         FASTSIGN                                                   Contingent
         915 E. Semoran Blvd                                        Unliquidated
         Casselberry, FL 32707                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,255.24
         FEDEX                                                      Contingent
         P.O. Box 660481                                            Unliquidated
         Dallas, TX 75266-0481                                      Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,016.95
         Florida Liquidators                                        Contingent
         P.O. Box 4725                                              Unliquidated
         Winter Park, FL 32792                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $12,955.02
         FUMEX                                                      Contingent
         1150 Cobb Intn'l Place                                     Unliquidated
         Kennesaw, GA 30152                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $762.00
         GEM GRAVURE                                                Contingent
         112 School Street                                          Unliquidated
         West Hanover, MA 02339                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $3,116.25
         Graybar                                                    Contingent
         P.O. Box 403062                                            Unliquidated
         Atlanta, GA 30384                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 18 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $786.00
         Grid Connect, Inc.                                         Contingent
         1630 W. Diehl Rd                                           Unliquidated
         Naperville, IL 60563                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,195.14
         Gulf Controls                                              Contingent
         P.O. Box 15100                                             Unliquidated
         Tampa, FL 33684                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $91,317.18
         IPG PHOTONICS CORPORATION                                  Contingent
         50 Old Webster Road                                        Unliquidated
         Oxford, MA 01540                                           Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $7,150.00
         Iradion                                                    Contingent
         One Technology Drive                                       Unliquidated
         Uxbridge, MA 01569                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,820.44
         Keyence Corp. of America                                   Contingent
         100 West Cypress Creek Road                                Unliquidated
         Suite 890                                                  Disputed
         Fort Lauderdale, FL 33309
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $906.53
         L-COM / INFINITE                                           Contingent
         Electronics International                                  Unliquidated
         17792 FITCH                                                Disputed
         IRVING, CA 92614
                                                                   Basis for the claim: Trade Debt
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,994.42
         McMaster-Carr Supply Co.                                   Contingent
         1901 Riverside Parkway                                     Unliquidated
         Douglasville, GA 30135                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 19 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,564.00
         Metalphoto of Cincinnati                                   Contingent
         P.O. Box 73702                                             Unliquidated
         Cleveland, OH 44193                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $4,354.66
         Motion AI Industries                                       Contingent
         7350 Golden Triangle Drive                                 Unliquidated
         Eden Prairie, MN 55344                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $5,184.40
         NEW LIFE FACILITY SERVICES                                 Contingent
         P.O. Box 92749                                             Unliquidated
         LAKELAND, FL 33804                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $45,867.72
         NEWARK element 14                                          Contingent
         33190 Collection Center Dr.                                Unliquidated
         Chicago, IL 60693-0331                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $38,250.00
         Performance Feeders, Inc.                                  Contingent
         P.O. Box 1067                                              Unliquidated
         Oldsmar, FL 34677                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $220.00
         PHASE 1 TECHNOLOGY CORP                                    Contingent
         44 W. JEFRYN BLVD                                          Unliquidated
         DEER PARK, NY 11729                                        Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $145,642.00
         Photonics Industries                                       Contingent
         1800 Ocean Avenue                                          Unliquidated
         Ronkonkoma, NY 11779                                       Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 20 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,610.00
         PJ POWDER LLC                                              Contingent
         1476 N. GOLDENROD RD                                       Unliquidated
         ORLANDO, FL 32807                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $48,435.14
         Precision Fabrication Corp.                                Contingent
         510 Church Street                                          Unliquidated
         Nokomis, FL 34275                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $254.43
         Radwell International, Inc.                                Contingent
         111 Mount Holly Bypass                                     Unliquidated
         Lumberton, NJ 08048                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,440.00
         RAND WORLDWIDE (Imaginit)                                  Contingent
         28127 Network Place                                        Unliquidated
         Chicago, IL 60673-1281                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,502.66
         REXEL USA, Inc                                             Contingent
         4150 N. John Young Pwky                                    Unliquidated
         Orlando, FL 32804                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $28,921.54
         RS Americas, Inc                                           Contingent
         7151 Jack Newell Blvd. South                               Unliquidated
         Fort Worth, TX 76118-7037                                  Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,556.93
         SAGER ELECTRONICS                                          Contingent
         19 LEONA DRIVE                                             Unliquidated
         MIDDLEBOROUGH, MA 02346                                    Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 21 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,767.00
         Santa Clara Systems                                        Contingent
         2060N. Loop Rd.                                            Unliquidated
         Alameda, CA 94502                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $13,308.75
         SCANLAB GmbH                                               Contingent
         Siemensstr 2a                                              Unliquidated
         Puchheim, Germany                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $6,895.00
         SCHLEUNIGER                                                Contingent
         87 Colin Drive                                             Unliquidated
         Manchaster, NH 03103-4086                                  Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $100.00
         SEMINOLE METAL FINISHING                                   Contingent
         967 Explorer Cove                                          Unliquidated
         Altamonte Springs, FL 32701                                Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $54.69
         SendCutSend                                                Contingent
         129 Cleveland Drive                                        Unliquidated
         Paris, KY 40361                                            Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $126.80
         Senec Automation Components                                Contingent
         5600 Williams Lake Rd, Ste C                               Unliquidated
         Waterford, MI 48329                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,118.56
         Servometer                                                 Contingent
         501 Little Falls Road                                      Unliquidated
         Cedar Grove, NJ 07009                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 22 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,142.55
         Shibuya Hoppmann Corp. - VA                                Contingent
         7849 Commermine Drive                                      Unliquidated
         Manassas, VA 20109                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,487.33
         SHINGLE & GIBB AUTOMATION                                  Contingent
         6555 Powerline Rd.                                         Unliquidated
         Fort Lauderdale, FL 33309                                  Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,083.98
         Simplimatic Automation                                     Contingent
         1046 W. London Park Dr.                                    Unliquidated
         Forest, VA 24551                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,142.00
         Spring Tool Solutions                                      Contingent
         169 White Oak Drive                                        Unliquidated
         Berlin, CT 06037                                           Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $1,373.00
         Strada Services, LLC                                       Contingent
         3400 Saint Johns Parkway                                   Unliquidated
         Sanford, FL 32771                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $6,142.57
         SunSource                                                  Contingent
         2301 Windsor Court                                         Unliquidated
         Addison, IL 60101                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $247.95
         TForce Freight                                             Contingent
         P.O. Box 1216                                              Unliquidated
         Richmond, VA 23218-1216                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 15
                         Case 6:24-bk-02727-LVV                    Doc 50           Filed 06/20/24                 Page 23 of 36

Debtor      Control Micro Systems, Inc.                                                     Case number (if known)            6:24-bk-02727-LVV
            Name

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $46,263.88
         The Salt Group                                             Contingent
         1845 Sidney Baker Street                                   Unliquidated
         Kerrville, TX 78028                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $143.16
         Tim Miller                                                 Contingent
         271 Forest Trail                                           Unliquidated
         Oviedo, FL 32765                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $160.50
         TRULY NOLEN                                                Contingent
         2082 33RD STREET                                           Unliquidated
         ORLANDO, FL 32839                                          Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $813.00
         TRUMPF                                                     Contingent
         47711 Clipper Street                                       Unliquidated
         Plymouth, MI 48170                                         Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $42,609.33
         TUV SUD America, Inc.                                      Contingent
         401 Edgewater Place                                        Unliquidated
           00018-8000                                               Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $58.21
         U.S. Plastics                                              Contingent
         1390 Neubrecht Road                                        Unliquidated
         Lima, OH 45801                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $1,156.25
         ULINE                                                      Contingent
         P.O. Box 88741                                             Unliquidated
         Chicago, IL 60680-1741                                     Disputed
         Date(s) debt was incurred Various
                                                                   Basis for the claim: Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13 of 15
                            Case 6:24-bk-02727-LVV                         Doc 50           Filed 06/20/24                 Page 24 of 36

Debtor       Control Micro Systems, Inc.                                                            Case number (if known)            6:24-bk-02727-LVV
             Name

3.87      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,274.31
          UPS                                                               Contingent
          P.O. Box 650116                                                   Unliquidated
          Dallas, TX 75265-0116                                             Disputed
          Date(s) debt was incurred Various
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.88      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,388.50
          VELMEX                                                            Contingent
          7550 State Route 5 and 20                                         Unliquidated
          Bloomfield, NY 14469                                              Disputed
          Date(s) debt was incurred Various
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.89      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,500.00
          Veritas Recruiting Group LLC                                      Contingent
          1135 TownPark Ave.                                                Unliquidated
          Lake Mary, FL 32746                                               Disputed
          Date(s) debt was incurred Various
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.90      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,363.47
          Waste Connection                                                  Contingent
          1099 Miller Drive                                                 Unliquidated
          Altamonte Springs, FL 32701                                       Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.91      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $136.45
          Winford Engineering                                               Contingent
          4561 Garfield Road                                                Unliquidated
          Auburn, MI 48611                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.92      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,577.34
          Xometry                                                           Contingent
          7951 Cessna Ave.                                                  Unliquidated
          Gaithersburg, MD 20879                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes
3.93      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $9,955.14
          XPO Logistics Freight. Inc                                        Contingent
          2211 Old Earhart Rd.                                              Unliquidated
          Ann Arbor, MI 48105                                               Disputed
          Date(s) debt was incurred Various
                                                                           Basis for the claim: Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 15
                             Case 6:24-bk-02727-LVV                      Doc 50          Filed 06/20/24                  Page 25 of 36

Debtor      Control Micro Systems, Inc.                                                         Case number (if known)            6:24-bk-02727-LVV
            Name

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                related creditor (if any) listed?              account number, if
                                                                                                                                               any
4.1       Keyence Corp. of America
          500 Park Blvd, Suite 200                                                              Line      3.49
          Itasca, IL 60143
                                                                                                      Not listed. Explain

4.2       Keyence Corp. of America
          669 River Drive, Suite 403                                                            Line      3.49
          Elmwood Park, NJ 07407
                                                                                                      Not listed. Explain

4.3       Keyence Corp. of America
          Dept CHI 17128                                                                        Line      3.49
          Palatine, IL 60055-7128
                                                                                                      Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
5a. Total claims from Part 1                                                                        5a.          $                     16,923.21
5b. Total claims from Part 2                                                                        5b.    +     $                    782,037.83

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                             5c.          $                      798,961.04




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 15 of 15
                           Case 6:24-bk-02727-LVV                     Doc 50        Filed 06/20/24            Page 26 of 36

Fill in this information to identify the case:

Debtor name        Control Micro Systems, Inc.

United States Bankruptcy Court for the:      MIDDLE DISTRICT OF FLORIDA

Case number (if known)      6:24-bk-02727-LVV
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Lease of commercial
             lease is for and the nature of       real property located
             the debtor's interest                at: 4420 Metric Drive,
                                                  Suite A, Winter Park, FL
                                                  32792
                State the term remaining          Month-to-month                    Richard S. Cohen
                                                                                    Revocable Trust
             List the contract number of any                                        P.O. Box 470777
                   government contract                                              Brookline Village, MA 02447




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
                         Case 6:24-bk-02727-LVV                   Doc 50        Filed 06/20/24           Page 27 of 36

Fill in this information to identify the case:

Debtor name      Control Micro Systems, Inc.

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF FLORIDA

Case number (if known)   6:24-bk-02727-LVV
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:

   2.1    600 Group                   4420 Metric Drive, Suite A                               Bank of America,                D       2.1
          Incorporated                Winter Park, FL 32792                                    N.A.                             E/F
                                                                                                                               G



   2.2    Tykma, Inc.                 4420 Metric Drive, Suite A                               Bank of America,                D       2.1
                                      Winter Park, FL 32792                                    N.A.                             E/F
                                                                                                                               G




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
                          Case 6:24-bk-02727-LVV                    Doc 50          Filed 06/20/24             Page 28 of 36




Fill in this information to identify the case:

Debtor name         Control Micro Systems, Inc.

United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA

Case number (if known)     6:24-bk-02727-LVV
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                              $2,538,198.00
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $8,715,000.00
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                            $12,004,000.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
                          Case 6:24-bk-02727-LVV                      Doc 50         Filed 06/20/24             Page 29 of 36
Debtor       Control Micro Systems, Inc.                                                        Case number (if known) 6:24-bk-02727-LVV



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See attached SoFA Exhibit 3b                                                         $488,449.68            Secured debt
                                                                                                                          Unsecured loan repayments
                                                                                                                          Suppliers or vendors
                                                                                                                          Services
                                                                                                                          Other

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Bank of America, N.A. vs. 600            Breach of                   Western District Court of                   Pending
              Group Incorporated, et al.               Contract                    Michigan                                    On appeal
              1:24-cv-142                                                          399 Federal Bldg.
                                                                                                                               Concluded
                                                                                   110 Michigan St. NW
                                                                                   Grand Rapids, MI 49503


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
                         Case 6:24-bk-02727-LVV                      Doc 50          Filed 06/20/24            Page 30 of 36
Debtor        Control Micro Systems, Inc.                                                        Case number (if known) 6:24-bk-02727-LVV




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
               Recipient's name and address           Description of the gifts or contributions                 Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
                Who was paid or who received            If not money, describe any property transferred               Dates              Total amount or
                the transfer?                                                                                                                     value
                Address
      11.1.     Shuker & Dorris, P.A.
                121 S. Orange Avenue
                Suite 1120
                Orlando, FL 32801                       Prepetition Attorney Fees and Expenses                        5/30/2024                $2,565.00

                Email or website address
                rshuker@shukerdorris.com

                Who made the payment, if not debtor?




      11.2.     Shuker & Dorris, P.A.
                121 S. Orange Avenue
                Suite 1120                              Retainer for post-petition Attorney Fees
                Orlando, FL 32801                       and expenses                                                  5/30/2024               $33,858.00

                Email or website address
                rshuker@shukerdorris.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
                          Case 6:24-bk-02727-LVV                     Doc 50          Filed 06/20/24             Page 31 of 36
Debtor      Control Micro Systems, Inc.                                                         Case number (if known) 6:24-bk-02727-LVV



      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                    Description of property transferred or                    Date transfer              Total amount or
             Address                                   payments received or debts paid in exchange               was made                            value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and          Last 4 digits of           Type of account or          Date account was                 Last balance
               Address                                 account number             instrument                  closed, sold,                before closing or
                                                                                                              moved, or                             transfer
                                                                                                              transferred


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
                          Case 6:24-bk-02727-LVV                       Doc 50         Filed 06/20/24             Page 32 of 36
Debtor        Control Micro Systems, Inc.                                                        Case number (if known) 6:24-bk-02727-LVV



                Financial Institution name and          Last 4 digits of           Type of account or          Date account was                  Last balance
                Address                                 account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     Bank of America                         XXXX-6130                   Checking                  12/6/2023                                  $0.00
                                                                                    Savings
                                                                                    Money Market
                                                                                    Brokerage
                                                                                    Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 5
                          Case 6:24-bk-02727-LVV                      Doc 50         Filed 06/20/24             Page 33 of 36
Debtor      Control Micro Systems, Inc.                                                         Case number (if known) 6:24-bk-02727-LVV



          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None
   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Felix Maldanado                                                                                                    6/12/2023 to
                    25446 Antler Street                                                                                                4/30/2024
                    Christmas, FL 32709
      26a.2.        Jennifer Espinal                                                                                                   6/18/2021 to
                    149 Magnolia Drive                                                                                                 5/15/2023
                    Altamonte Springs, FL 32714

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

      No
          Yes. Give the details about the two most recent inventories.
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
                          Case 6:24-bk-02727-LVV                    Doc 50          Filed 06/20/24             Page 34 of 36
Debtor      Control Micro Systems, Inc.                                                        Case number (if known) 6:24-bk-02727-LVV




             Name of the person who supervised the taking of the                   Date of inventory         The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory
      27.1 Tony Kochell                                                                                      Raw Materials $1,076,548.00
      .                                                                                                      Work in Progress $1,003,488.00
                                                                                   3/31/2023                 (Cost)

             Name and address of the person who has possession of
             inventory records
             Tony Kochell
             2754 Sedgefield Ave.
             Deltona, FL 32725


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Paul R. Dupee                          850 Georgia Avenue                                  President & CEO                         0%
                                             Winter Park, FL 32789



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

          No
      Yes. Identify below.
             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

      No
          Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation
   600 Group Incoporated                                                                              EIN:        XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
                            Case 6:24-bk-02727-LVV                    Doc 50          Filed 06/20/24             Page 35 of 36

Debtor     Control Micro Systems, Inc.                                                         Case number (if known) 6:24-bk-02727-LW



■=tfflltM Signature and Declaration
    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
    18 u.s.c. §§ 152, 1341, 1519, and 3571.

    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
    and correct.

    I declare under penalty of perjury that the foregoing is true and correct.

                    June 20, 2024

                                                               Paul Dupee
                                                               Printed name

Position or relationship to debtor _C_h_a_ir_m_a_n______________

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
■ No
D Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
                                   Case 6:24-bk-02727-LVV               Doc 50        Filed 06/20/24         Page 36 of 36



                                                   Control Micro Systems, Inc. Case No. 6:24-bk-02727-LVV
                                                                       SoFA Exhibit 3b

Vendor                             Sum of $              Street Address                          City and State              Dates     Reason
Grand Total                                   488,449.68
Williams - Cohen Management, Inc              114,789.15 PO Box 470777                           Brookliine MA 02447         Various   Operating
Motion AI Industries                           43,657.88 7350 Golden Triangle Drive              Eden Prairie MN 55344       Various   Operating
COHERENT CORP.                                 49,954.64 PO Box 74008357                         Chicago IL 60674            Various   Operating
CIGNA                                          37,424.00 PO Box 640979                           Pittsburg PA 15264          Various   Operating
MRK Metalworking                               31,865.35 W265 N7255 Thousand Drive               Sussex WI 53089             Various   Operating
FANUC ROBOTICS                                 27,051.20 3900 West Hamlin Road                   Rochester Hills MI 48309    Various   Operating
ORLANDO METAL FABRICATION                      21,010.00 11516 Satellite Blvd                    Orlando FL 32837            Various   Operating
SMC CORPORATION OF AMERICA                     19,582.17 10100 SMC Blvd                          Noblesville IN 46060        Various   Operating
Trumpf Inc.                                    16,719.00 47711 Clipper Street                    Plymouth MI 48170           Various   Operating
UNITED PARCEL SERVICE                          15,959.57 PO Box 650116                           Dallas Tx 75265             Various   Operating
Donaldson Company, Inc.                        15,068.05 PO Box 1299                             Minneapolis MN 55440        Various   Operating
DUKE ENERGY                                    12,653.67 PO Box 1004                             Charlotte NC 28201          Various   Operating
INDUSTRIAL MOTION CONTROL LLC                  12,548.38 1444 South Wolf Road                    Wheeling IL 30090           Various   Operating
JOBSCOPE                                       12,437.34 PO Box 890621                           Charlotte NC 28289          Various   Operating
IRADION                                        10,575.00 One Technolgy Drive                     Uxbirdge MA 01569           Various   Operating
Charter Communications                         10,560.81 PO Box 790450                           St Louis MO 63179           Various   Operating
Polyscience                                    10,557.18 6600 W. Touhy Ave                       Niles Il 60714              Various   Operating
SHUMAKER, LOOP, & KENDRICK, LLP                 9,453.00 PO Box 714625                           Cincinatti OH 45271         Various   Operating
CBRE                                            8,928.29 PO Box 406588                           Atlanta GA 30384            Various   Operating
SCANLAB AMERICA, INC.                           7,655.00 82178 Puchheim                          Puchheim Germany            Various   Operating
